                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                                       5:20-CV-396-FL

SIAVASH L. MOJARRAD,                                     )
as administrator of the Estate of Soheil                 )
Antonio Mojarrad,                                        )
                                                         )
                  Plaintiff,                             )
                                                         )
                  V.                                     )                         ORDER
                                                         )
CITY OF RALEIGH, NORTH CAROLINA,                         )
et al. ,                                                 )
                                                         )
                  Defendants.                            )


         This case comes before the court on the motion by defendant City of Raleigh ("Raleigh")

to excuse the in-person attendance of the person who was then serving as the representative of its

excess carrier (D.E. 78), Christine O'Brien, from in-person attendance at the settlement

conference to be conducted in this case based on circumstances specific to Ms. O' Brien. During

a telephonic conference with counsel earlier today, Raleigh's counsel advised that Ms. O' Brien

was no longer serving in that role. The motion is therefore DENIED as MOOT. 1

         SO ORDERED, this 23rd day of March 2022.



                                                               J




1
 By separate order, the court is allowing the current representative of Raleigh ' s excess carrier, who is located in
London, England, to attend the settlement conference by videoconference.



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